                          UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN


In re:

Robert W. Geddes
Susan M. Geddes,                                            Case No. 09-68334-wsd
                                                            Chapter 13
                                                            Hon. Walter Shapero
            Debtor(s)
____________________________________/

     ORDER TO SHOW CAUSE WHY DEBTOR IS ENTITLED TO A DISCHARGE

         A voluntary petition commencing a case under Title 11 of the United States Code was
filed on September 11, 2009 by the above entitled Debtor. This Court is advised that the Debtor
has previously been granted a discharge in a Chapter 7 case, Case No. 07-52776, that was filed
on June 20, 2007 in the Eastern District of Michigan. Pursuant to 11 U.S.C. '1328(f) of the
Bankruptcy Code, the Court cannot grant the Debtor a discharge if the Debtor has been (i)
granted a discharge in a Chapter 7, 11 or 12 case commenced within 4 years before filing this
case; or (ii) granted a discharge in a Chapter 13 case commenced within the last 2 years before
filing this case.
         IT IS ORDERED that, unless the debtor(s) agree that he/she is not entitled to a
discharge, the Debtor(s) and attorney for the Debtor(s) appear before this Court on Monday,
August 24, 2015 at 2:00 p.m. before the Hon. Walter Shapero at Room 1042, 231 W. Lafayette,
Detroit, MI 48226, and show cause why the Debtor(s) is entitled to a discharge in view of 11
U.S.C. '1328(f).
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         Signed on August 11, 2015
                                                         /s/ Walter Shapero
                                                     Walter Shapero
                                                     United States Bankruptcy Judge




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